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Forking is Beautiful – WordPress News                                                             https://wordpress.org/news/2024/10/spoon/
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               October 10, 2024
               By Matt Mullenweg in General




               Forking is Beautiful

               The right to fork the software is at the heart of open source. WordPress itself started as a fork of the
               b2/cafelog project. WordPress was one of several forks from b2, which included b2�� (which eventually
               became WordPress Multisite) and some like b2evolution which still continue today.


               The last decent fork attempt for WordPress was ClassicPress in 2018, over disagreements about
               Gutenberg being integrated into core.


               We’re very proud to announce that Vinny Green, a former WordPress community member, has started
               his fork, FreeWP. We strongly encourage anyone who disagrees with the direction WordPress is headed
               in to join up with Vinny and create an amazing fork of WordPress. Viva FreeWP!


               If there are other forks of WordPress we should highlight, let us know.


               Updates with complete fork list:


                  • AspirePress “AspirePress exits [sic] to be a community of individuals focused on helping WordPress
                    become the platform we all aspire for it to be.”
                  • b2evolution, which forked b2/cafélog at the same time WordPress did, so contains some of the
                    same root source code.
                  • FreeWP, by Vinny Green.
                  • OpenPress is not a fork, but their name implies they want people to consider it as an alternative to
                    WordPress. They are building on Laravel, using the CC�0 license, and claim to be optimized for AI.
                    Their plugin to export from WordPress is here.
                  • WP Engine is the most confusing fork of WordPress because it claims it’s actually WordPress
                    despite disabling core features like revisions, hiding the news and meetups widget, and running its
                    own plugin, theme, and core update system (which is slower than core’s). This is the one fork we
                    recommend not touching with a ten-foot pole.




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